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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JLB LLC,
      Plaintiff,
                                                    Civil Action No. _______________
v.

CHRISTIAN R. EGGER,
     Defendant.


              VERIFIED COMPLAINT FOR DECLARATORY JUDGMENT,
                       DAMAGES, AND EQUITABLE RELIEF

                                        INTRODUCTION

       Plaintiff, JLB LLC (the “Owner”), on behalf of itself and Lisa G, a new 2019 Viking 68

foot yacht U.S.C.G. Official No. 1292860 (the “Vessel”), brings this action against Defendant,

Christian R. Egger (“Egger”) for declaratory judgment, breach of contract, and injunctive relief

enjoining Egger from commencing duplicative actions in Florida or in any other jurisdiction, and

from taking any action against or in pursuit of restraint of the Vessel.

       This case arises from Egger’s misconduct while delivering the Vessel from Florida to

Massachusetts.      Egger violated the Owner’s written no drinking, maintenance and

communications policies and as a result subjected the Vessel to increased danger principally

caused by his intoxication for significant time periods. Egger’s wrongful activities included,

without limitation: prolonged periods of intoxication; conversion of the Vessel to Egger’s

personal use for several time periods for personal fishing and partying; failure to respond to the

Owner’s repeated calls over a protracted periods to review maintenance and safety requirements;

repeated direction to keep the mate from communicating with the Owner; unauthorized

consumption of the Owner’s liquor and use of Owner’s new personal belongings, including
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fishing gear; and refusal to adhere to the agreed upon written safety and maintenance protocols of

the Vessel. After Egger’s continuing misconduct, the Owner dismissed Egger and as a result has

incurred damages exceeding $25,000.

       In an attempt to keep the Owner from asserting claims of misconduct against him, Egger,

via his attorney, threatened to arrest the Vessel and to assert a baseless maritime lien claim upon

its return to Florida. The amount of Egger’s claim is set forth in his lawyer’s demand letter, a

copy of which is appended as Exhibit A. To avoid arrest of the Vessel while the parties

judicially adjudicate their rights, the Owner offered to place cash in the amount of 200% of

Egger’s claim in an escrow account. Egger refused and, instead, has sought to leverage the threat

of arrest of the Vessel to strong-arm an unwarranted and unjustified result.

       The Owner is entitled to damages for breach of contract and to a declaratory judgment

that Egger is not entitled to a maritime lien. Under the circumstances, the Owner is also entitled

to prejudgment relief enjoining Egger from pursuing a separate action and/or maritime lien claim

in Florida or elsewhere and from taking any action to arrest or otherwise interfere with the

Owner’s possession and/or use of the Vessel. The Owner reiterates its agreement to deposit as

the Court directs, either a payment bond or a cash deposit, a sum that will assure payment of

Egger’s claim to avoid his pursuit of a maritime lien until the whole of the matters are

adjudicated.

                          PARTIES, JURISDICTION AND VENUE

       1.       The Owner’s principal place of business is 180 Wells Avenue, Suite 100, Newton,

Massachusetts 02459.

       2.       Upon information and belief, Egger is an individual with a residence at 1443 S.W.

5th Ct. Rear, Fort Lauderdale, Florida.

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       3.       Jurisdiction is based on the Court’s admiralty jurisdiction under 28 U.S.C.

§1333(1) and supplemental jurisdiction under 28 U.S.C. §1367(a).

       4.       The Court’s federal question jurisdiction under 28 U.S.C. §1331 also affords

jurisdiction in this action under the Declaratory Judgment Act, 28 U.S.C. §2201.

       5.       Venue is based on 28 U.S.C. §1391(a) since a substantial part of the events which

give rise to this action occurred and continue to take place within the Commonwealth of

Massachusetts.

       6.       The Vessel is also currently docked in Massachusetts.

                                  FACTUAL BACKGROUND

       7.       In February 2019, the Owner took delivery of the Vessel, a new custom designed

sport fishing yacht, in New Jersey.

       8.       At all pertinent times, Egger held himself out as being an experienced, mature,

fully qualified and licensed yacht Captain capable of being entrusted with the care, custody,

operation and oversight of a quality yacht.

       9.       On May 4, 2019, the Owner, from its business location in Massachusetts,

responded to an online advertisement by Egger offering his services to East Coast yacht owners.

       10.      During a telephone conversation between Egger and the Owner, Egger offered to

make himself available for an interview by the Owner in the Boston area.

       11.       On May 12, 2019, Egger met with the Owner in the Boston to discuss with Egger

the terms of the Owner’s position which would commence with his taking over care and custody

of the Vessel to deliver it from Florida to Massachusetts, and more generally, to oversee, operate

and maintain the Vessel while in his care. Egger’s responsibilities were discussed to include the

responsibility for supervision of the yacht’s full time mate.

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       12.      During the interview, the Owner provided and reviewed with Egger a copy of the

“Abbreviated Crew Requirements” (the “Crew Requirements”) which specified, inter alia, that

the Captain was “responsible for the proper operation and maintenance of all aspects of the

[V]essel with the primary objectives being the absolute first class overall upkeep of the [V]essel

and maintaining the highest of safety standards.” A copy of the Crew Requirements is attached

as Exhibit B.

       13.      During the interview process it was specifically reviewed that Egger, as Captain

of the Vessel, would be subject to “a zero tolerance [policy] for drugs/substances which will be

grounds for immediate termination… Operating the [V]essel under the influence of any

substance/drug or alcohol shall be grounds for immediate termination.” Id.

       14.      During the interview, the Owner also provided and reviewed with Egger a copy of

the “Maintenance Schedule” which included a preventative systems maintenance program to be

followed on a daily and month basis. A copy of the Maintenance Schedule is attached as Exhibit

C.

       15.      The Owner explained and Egger confirmed that adherence to the written Crew

Requirements and Maintenance Schedule were essential to the position and that any breach

would subject the crew to immediate dismissal.

       16.      During the interview, Egger represented that he was a non-smoker, had a clean

record, and had many fully satisfied references.

       17.      Egger was informed during the interview and thereafter that timely delivery of the

Vessel to Falmouth, Massachusetts was important for the Owner’s business purposes.

       18.      During the interview, Egger, stated that he was looking forward to being stationed

on Cape Cod because he (or his wife) had family in the area.

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       19.     Upon delivery of the Vessel, the vast majority of the Captain’s responsibilities

would be undertaken ashore; it being estimated that 20% of the crew’s estimated work time

would be spent offshore.

       20.     During the interview, Egger reiterated that he understood the requirements and if

hired assured that he would carry out all of his duties in an exemplary manner.

       21.     Thereafter, the Owner offered to pay Egger $85,000 per year and, responsive to

Egger’s request, agreed to rent an apartment in Falmouth, Massachusetts where Egger and his

family could reside during the 2019 summer months.

       22.     Egger accepted the position as Captain of the Vessel on the terms above

described.

       23.     Egger’s position as Captain of the Vessel began on June 1, 2019. The scheduled

June 5th departure date of the Vessel was important to enable timely delivery of the Vessel to

Massachusetts.

       24.     Contrary to the specific agreed upon terms of engagement, on June 6th, during the

delivery, Egger instructed the mate during the workday that he was going to divert the delivery of

the Vessel to go fishing and Egger instructed the mate not to communicate that to the Owner, and

the mate complied. Egger’s fishing included his use of Owner’s brand new, unused custom

fishing gear and Egger directed that fish caught be stored in a cockpit stowage box which had

never been used.

       25.     Contrary to the specific agreed upon terms of engagement, during the delivery of

the Vessel and upon arrival to port each evening after fueling, Egger failed to participate in the

clean-up and daily preventative maintenance of the Vessel.




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       26.     Contrary to the specific agreed upon terms of engagement, the Owner was

informed that Egger regularly consumed alcohol at least upon arrival to port and set up a mock

vodka bar with the Owner’s alcohol and facilities.

       27.     Despite Egger’s representation to the Owner of being a non-smoker, Egger

smoked approximately one pack of cigarettes per day, including on the Vessel.

       28.     Contrary to the specific agreed upon terms of engagement, Egger also failed to

properly prepare the Vessel prior to departure during each day of the delivery by failing to secure

the Owner’s personal property and loose items and boat supplies, i.e., leaving lines, cleaning

items and the grill out and loose in the cockpit, and not properly stowing or securing said items in

a manner consistent with customary good and safe practices.

       29.     Contrary to the specific operating parameters established by Owner, on June 7th,

the Owner received an electronic alert from the Vessel’s electronic tracking system that Egger

had been operating the Vessel at excessive speeds for excessive periods of time. As a result of

the foregoing, after just three days of run time Egger significantly exceeded the amount of fuel

consumption requiring Egger to request an increase in the Owner’s provided credit card limit for

fueling. In order to appease Egger and encourage delivery of the Vessel on schedule, the Owner

complied.

       30.     At that time, the Owner contacted the mate directly because he had become

concerned about the Vessel’s safety and care. The mate then confessed that he and Egger had

used the Vessel to go fishing and expressed concerns about the overall delivery conditions.

       31.     The following morning Egger contacted the Owner stating that he had decided to

turn around due to the sea conditions and would be returning to port. However, contrary to

explicit instructions from Owner for the crew to standby to depart at the first break in the

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weather, the Owner was advised that Egger proceeded to drink alcohol over the next several

hours during which he refused to take the Owner’s calls.

       32.     Because of Egger’s intoxication, Egger missed an opportunity to resume the trip

and timely deliver the Vessel by the scheduled June 14th arrival date. As a result, the Vessel was

not delivered by the agreed-upon date and the Owner was compelled to cancel a business event

on the Vessel with several important clients and has been unable to reschedule the event.

       33.     After several unanswered text messages from Owner to Egger, Egger’s condition

so deteriorated that the mate called the Owner.

       34.     During the telephone call, the mate, who sounded intoxicated, advised the Owner

that he had to be “110% honest” and that Egger “was not the right Captain.” The mate explained

that Egger was running the Vessel “too hard” and that Egger had directed him not to have any

communication with the Owner and not to work hard because they were being underpaid.

       35.     Several hours later the Owner received a telephone call from Egger whose slurred

speech and incoherent comments confirmed that he was severely intoxicated. During that call,

the Owner reiterated the no drinking policy and made clear that drinking at any time while Egger

was charged with the care and custody of the Vessel was strictly prohibited. Egger responded by

stating: “I will do what I want on my day off!” Egger was not on a day off.

       36.     At that time, the Owner was left with no alternative than to dismiss Egger and

prohibit him from being on the Vessel.

       37.     Out of concern for the safety of the parties involved and to protect the Vessel, the

Owner then contacted the Hampton, Virginia Police Department and the local dock master for

assistance in having Egger removed from the Vessel.




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        38.      Throughout the rest of June 9th, Egger continued to contact the mate and

attempted to encourage the mate to depart as well.

        39.      The situation had become so contentious that the dock master assured the Owner

that he would stay on-site in the dock office to protect the Vessel if needed from Egger.

        40.      On June 10th, Egger contacted the Owner and apologized for his “irresponsible

conduct”.

        41.      In response, the Owner suggested that, in an effort to resolve the situation, Egger

write a letter of apology and agree to reimburse the Owner for the prepaid rental housing costs,

costs for fuel for fishing, and other costs incurred.

        42.      Although Egger promised to send an email to confirm his apology by noon of the

next day, no such email was ever received; instead, Egger continued to contact the mate claiming

to have hired a maritime attorney and encouraging the mate to talk to him to agree on a strategy

for a lawsuit.

        43.      At approximately noon on June 10th, being very concerned about the safety and

condition of the Vessel, the Owner flew to Hampton, Virginia and the Owner witnessed that the

Vessel was in a state of disarray.

        44.      As a result of Egger’s conduct, the Owner incurred substantial costs including, but

not limited to, travel and lodging costs to secure and protect the Vessel in Virginia, rent for the

apartment the Owner had rented for Egger’s use in Falmouth, a substitute Captain hired by the

Owner on short notice, and unauthorized fuel charges and maintenance incurred by Egger during

his unauthorized personal use of the Vessel, the total of which charges exceed $25,000.

        45.      On June 12th, Egger, through Florida counsel, sent a letter to the Owner

demanding payment in the amount of $2,672.96, which purportedly included wages and

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repatriation charges, and threatened to pursue and foreclose upon a maritime lien in the event of

nonpayment. A copy of the June 12th letter is attached as Exhibit A.

          46.   On June 14th, the Owner, through Massachusetts counsel, rejected Egger’s

demand and contended that Owner is instead entitled to damages due to Egger’s misconduct and

numerous breaches of contract. A copy of the June 14th letter is attached as Exhibit D.

          47.   Thereafter, the Owner hired Florida counsel who, on behalf of Owner, offered to

post 200% of the amount of Egger’s claim in cash in an escrow account to be held as a security

for Egger’s claim. However, Egger refused to accept the escrow proposal.

          48.   Upon information and belief, in an effort to extort an unwarranted settlement from

the Owner Egger continues to threaten seizure of the Vessel upon its return to Florida.

          49.   To avoid arrest of the Vessel and provide adequate security for Egger’s purported

claims, the Owner is willing to deposit into Court by bond or cash the amount of 200% of

Egger’s claims.

                                        COUNT I
                                 DECLARATORY JUDGMENT

          50.   The Owner realleges and reasserts the allegations contained in paragraphs 1

through 49 as if fully set forth herein.

          51.   It is apparent from Egger’s actions in this matter and in other similar

circumstances that Egger’s threats to detain and arrest the Vessel, notwithstanding adequate

security having been offered, amounts to an unwarranted attempt to extort a fully unwarranted

result.

          52.   The Owner is entitled to a declaratory judgment, pursuant to Fed. R. Civ. P. 57

and 28 U.S.C. §2201, declaring and adjudging that: (a) The Owner is entitled to all damages,


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costs and fees it has sustained and will sustain as a result of Egger’s breach of his obligations;

and (b) Egger is not entitled to a maritime lien against the Vessel.

                                         COUNT II
                                    BREACH OF CONTRACT

          53.   The Owner realleges and reasserts the allegations contained in paragraphs 1

through 52 as if fully set forth herein.

          54.   Egger failed and refused to fulfill his obligations under the terms of his

engagement as Captain of the Vessel.

          55.   As a result of Egger’s breaches as aforesaid, the Owner has been damaged and

continues to be damaged thereby.

          56.   Egger is liable to the Owner for all damages and costs sustained as a result of his

numerous and substantial breaches.

                                           COUNT III
                                       INJUNCTIVE RELIEF

          57.   The Owner restates and realleges Paragraphs 1 through 56 above as if fully set

forth herein.

          58.   The Owner has a substantial likelihood of success on the merits of its claims

given the clear, apparent and egregious breaches by Egger of the Crew Requirements and the

Maintenance Requirements and generally accepted conduct reasonably required of a Captain in

charge.

          59.   By reason of Egger’s threats to arrest the Vessel, the Owner will be immediately

and irreparably harmed if Egger is not enjoined and restrained from pursuing a claim for

maritime lien and arrest of the Vessel or taking any other action to interfere with the Owner’s use




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and enjoyment of the Vessel when Owner has committed to place funds in escrow to assure

payment if determined as being owed after judicial determination of the rights of the parties.

          60.   Moreover, parallel federal suits in different jurisdictions are disfavored and,

therefore, the Court in a first-filed action has the power to enjoin and should enjoin the parties

from proceeding in a second action absent a showing of special circumstances that would give

priority to the second action. There are no special circumstances present in this case which

would give priority to any subsequently filed action by Egger.

          61.   Further, pursuant to Supplemental Admiralty and Maritime Claims Rule E(5)(b),

the owner of any vessel may file a general bond or stipulation, with sufficient surety, to be

approved by the court, conditioned to answer the judgment of such court in all or any actions that

may be brought thereafter in such court in which the vessel is attached or arrested.

          62.   Upon approval of said stipulation, the execution of all such process against such

vessel shall be stayed so long as the amount secured by such bond or stipulation is at least double

the aggregate amount claimed by plaintiffs in all actions begun and pending in which such vessel

has been attached or arrested.

          63.   The Owner is entitled to approval of a stipulation in accordance with

Supplemental Admiralty and Maritime Claims Rule E(5)(b) and to an order of the Court

enjoining Egger from: (i) commencing any action or pursuing any claim for maritime lien, except

in the above-captioned action, against the Owner or the Vessel; and (ii) commencing any action

to arrest the Vessel and from otherwise interfering with the Owner’s use and enjoyment of the

Vessel.




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        WHEREFORE, the Owner demands:

        1.     That, as to Count I, this Court issue a declaratory judgment in the Owner’s favor

pursuant to Fed. R. Civ. P. 67 and 28 U.S.C. §2201 declaring and adjudging that: (a) the Owner

is entitled to all damages, costs and fees it has sustained as a result of Egger’s breach of contract;

and, (b) Egger is not entitled to a maritime lien against the Vessel;

        2.     That, as to Count II, this Court enter judgment against Egger and in favor of the

Owner in amounts to be determined by the Court, together with interest, costs and attorneys’

fees;

        3.     That, in accordance with Fed. R. Civ. P. 65 and Supplemental Admiralty and

Maritime Claims Rule E(5)(b), this Court, after hearing, issue a preliminary injunction enjoining

Egger, and each of his agents, servants, successors, assigns, employees and attorneys, and all

persons acting or purporting to act on his behalf, and all persons having actual notice of any order

issued hereunder, from commencing any action or pursuing any claim for maritime lien against

the Owner or the Vessel, except in the above-captioned action, and from taking any action in any

other jurisdiction to arrest the Vessel and from otherwise interfering with the Owner’s use and

enjoyment of the Vessel;

        4.     That a Short Order of Notice be issued ordering Egger to appear for a hearing on

the Owner’s application for preliminary injunctive relief and motion for approval of stipulation

filed herewith at the Court’s earliest convenience;

        5.     That Egger be ordered to serve any written opposition(s) together with any

supporting affidavit(s), memoranda and exhibits upon counsel for the Owner no later than 48

hours before the scheduled hearing; and

        6.     That this Court grant such other and further relief as it deems just and proper.

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                                            PLAINTIFF,
                                            JLB LLC,
                                            By it attorney:


                                                   /s/ Robert W. Stetson
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Dated: September 5, 2019




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                                         VERIFICATION

        I, Randy Goldberg, hereby verify under oath that I am manager of JLB LLC and that I
have read the Verified Complaint and the allegations stated in the Verified Complaint are to the
best of my belief known by me to be true.

         Signed under the pains and penalties of perjury this 5th day of September, 2019.

                                                             /s/ Randy Goldberg
                                                       Randy Goldberg, Manager




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